                 Case 2:11-cr-00490-DAD Document 147 Filed 07/18/14 Page 1 of 2


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 4

 5 Attorney for:
   Marina Pukhkan
 6

 7                                   IN THE UNITED STATES DISTRICT COURT

 8                                          EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                            CASE NO. CR-S 11-490-JAM

11                                      Plaintiff,
                                                          STIPULATION TO MODIFY CONDITION OF
12                              v.                        SUPERVISED RELEASE

13   MARINA PUKHKAN,
                                        Defendant.
14

15

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18
                                                     STIPULATION
19
            Plaintiff United States of America, by and through its counsel of record, and defendant, by and
20
     through her counsel of record, hereby stipulate as follows:
21
            Pretrial condition number 7, requiring Ms. Marina Pukhkan to maintain regular employment is to
22
     be deleted. All other conditions will remain in effect. Pretrial Services has recommended this change.
23
            //
24
            /
25
            IT IS SO STIPULATED.
26

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      Stip. & [Proposed] Order - Pretrial                 1

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                  Case 2:11-cr-00490-DAD Document 147 Filed 07/18/14 Page 2 of 2


 1 Dated: July 17, 2014                                BENJAMIN B. WAGNER
                                                       United States Attorney
 2

 3                                                     /s/ Michael Anderson
                                                       MICHAEL ANDERSON
 4                                                     Assistant United States Attorney

 5
     Dated: July 17, 2014                              /s/ Dina L. Santos
 6                                                     DINA SANTOS, ESQ.
                                                       Attorney for Marina Pukhkan
 7

 8

 9
     ////
10
     ///
11
     //
12
     /
13
                                                ORDER
14
                IT IS SO FOUND AND ORDERED
15
     Dated: July 18, 2014
16
                                                _____________________________________
17                                              CAROLYN K. DELANEY
                                                UNITED STATES MAGISTRATE JUDGE
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          Stip. & [Proposed] Order - Pretrial      2

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